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UNITED STATES DISTRICT COURT

DISTRICT OF MASSACHUSETTS

 

LAWRENCE LESSIG,
Plaintiff,
V. Civil Action No.: 1:20-cv-10060
THE NEW YORK TIMES COMPANY,
ELLEN POLLOCK, DEAN BAQUET,
and NELLIE BOWLES,

Defendants.

 

 

COMPLAINT AND DEMAND FOR TRIAL BY JURY
Introduction
1. This is a case about Defendants’ publication of a sensationalized, false and defamatory
“clickbait” Internet headline and lede in order to drive readers to their story and web site. In the
midst of the Jeffrey Epstein human trafficking scandal, perhaps the most horrific and widely
publicized pedophile scandal in American history, Defendants falsely published a headline and
lede to a story of and concerning Plaintiff, Harvard Law School Professor Lawrence Lessig
(“Lessig”), which represented to their readers that Professor Lessig was defending the
clandestine acceptance and retention of money from Epstein by institutions of higher learning.
More specifically, on September 14, 2019 Defendant, The New York Times Company (the “NY
Times”), one of the most recognized news outlets in the world with an international reach
spanning to 150 million monthly global readers, published the headline: “A Harvard Professor

Doubles Down: If You Take Epstein’s Money, Do It in Secret.” Defendants followed their
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headline with the lede: “[Lessig] defend[s] soliciting donations from the convicted sex
offender Jeffrey Epstein.”

2. Defendants’ story was met with mass outrage from campuses in Cambridge and
Somerville, in Lessig’s nationwide social media following, by countless victims of sexual
assault, and in the infinite depths of the “Twittersphere.” Within hours, Lessig became associated
with the notoriety surrounding the Epstein scandal, and the community that quietly or silently
tolerated such monstrosity.

3. Defendants’ story was based upon an essay that Lessig had published on Medium and
two interviews conducted with Lessig. Defendants published their headline and lede despite their
both being the exact opposite of what Lessig had written and despite being told expressly by
Lessig pre-publication that they were contrary to what he had written. When Lessig brought the
matter to Defendants attention post-publication, they refused to remove or edit their headline or
lede to reflect the truth.

4. Lessig is a nationally prominent professor and legal scholar with a large social media
following. At the time Defendants published their false and defamatory story he was poised to
spearhead a national dialogue dedicated to developing best standards applicable to the
acceptance and retention of donations from individuals and corporations who engage in
wrongdoing. Defendants’ publication of their false and defamatory headline and lede has
destroyed those efforts and has harmed Lessig’s reputation more generally.

5. Defendants’ actions here are part of a growing journalistic culture of clickbaiting: the use
of a shocking headline and/or lede to entice readers to click on a particular article, irrespective of
the truth of the headline. Defendants are fully aware that many, if not most, readers never read

past the clickbait and that their takeaway concerning the target of the headline is limited to what
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they read in the headline. As a result, the use of this tactic represents a uniquely troubling media

practice as it relates to the harm to and destruction of the reputation of the target of the clickbait.

The Parties

6. Lessig is an individual residing in Brookline, Massachusetts. He is a renowned legal
theorist and activist, most known for his contribution to intellectual property and copyright law
as well as the study of democracy. Most recently, as the Roy L. Furman Professor of Law and
Leadership at Harvard Law School, his work has focused on “institutional corruption,” including
the corruption of Congress and the media. Highly decorated in his field, he has received national
recognition as one of “Scientific American’s Top 50 Visionaries,” among other prestigious
distinctions.

7 Defendant The New York Times, is a New York corporation with its principal place of
business in New York, New York. As a global media organization, the Times has 4.7 million
subscriptions and over 150 million monthly global readers. In 2018, NYTimes.com had an
estimated monthly average of approximately 94 million online visitors in the United States and
134 million online visitors globally.

8. Defendant Ellen Pollock (“Ms. Pollock”) is an individual who resides in New York, New
York. At times material hereto, Ms. Pollock was the Business Editor at the Times and acted
within the scope of her employment at the Times in reviewing, and ultimately approving the
headline of the article at issue here.

9. Defendant Dean Baquet (“Mr. Baquet”) is an individual who resides in New York, New
York. At times material hereto, Mr. Baquet was the Executive Editor of the New York Times.

10. Defendant Nellie Bowles (“Ms. Bowles”) is an individual who resides in New York, New
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York. At times material hereto, Ms. Bowles was a reporter for the Times and acted within the

scope of her employment at the Times in writing the article at issue here.

Jurisdiction and Venue

11. The subject matter jurisdiction of this Court is properly based upon the presence of a
a federal question related to the First Amendment of the United States Constitution, and the
existence of complete diversity between the parties and an amount in controversy which exceeds
$75,000.00, exclusive of costs and interest pursuant to 28 U.S.C. § 1331, § 1332. Personal
jurisdiction over Defendants is lawful and proper here where Defendants each transact business
in Massachusetts generally and/or engaged in tortious conduct which caused injury in
Massachusetts,

12. The venue for this action properly lies in this district pursuant to 28 USS.C. § 1391,
because a substantial part of the events or omission giving rise to the defamatory article was
based on content gathered and produced in Massachusetts by Lessig. For example, Lessig gave
an interview for the publication at issue from his home in Massachusetts and the content which
the defamatory article discussed was derived from Lessig’s article, “On Joi and MIT,” which

Lessig wrote and published in Massachusetts.

Facts

13. On or about September 8, 2019, Lessig wrote an article entitled “On Joi and MIT” in
which he discussed Epstein’s financial contributions to MIT’s Media Lab. In the article, he wrote
that it was wrong for MIT to accept Epstein’s money, even if anonymously, but wrong for the
MIT Media Lab’s director to be “‘scapegoated” for his mistake.

14, At the time Lessig wrote the article, Joi Ito was the Director of the MIT Media

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Lab.

15. Concerns about Ito’s role at MIT were raised when it was revealed that he had, with MIT’s
knowledge and approval, solicited and accepted donations from Epstein, a convicted and registered
sex offender.

16. Following the revelation that Ito solicited and accepted donations from Epstein, there was
a demand from some in the MIT community that Ito be fired.

17. On September 6, 2019, Ronan Farrow published an article in The New Yorker about Ito
and the money Epstein had contributed to MIT. That article suggested that Ito had acted
independently of MIT, and contrary to MIT"s direction.

18. Farrow’s article triggered new calls for MIT to fire Ito.

19, On September 7, 2019, the day after Farrow’s article was published, Ito resigned his
position at MIT, as well as his directorship at the NY Times.

20. On September 8, 2019, Lessig published a 3,500-word article on the website, Medium
(“the Medium Article”) that addressed the events that had led to Ito’s resignation. Three days
later, he added an 800-word addendum. A copy of the Medium Article and addendum are

attached hereto as Exhibits A and B, respectively.

 

21. Lessig’s Medium Article generated a large response from the public.

22. In light of the attention the Medium Article received, NY Times reporter,
Ms. Bowles contacted Lessig to ask whether he would be willing to be interviewed about the
article, and for the interview to be published as a “Q&A” in the NY Times.

23. On September 10, 2019, Ms. Bowles interviewed Lessig for approximately an hour. The
subject of the interview was the Medium Article, and the issues of accountability and responsibility

within universities.
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24. On September 13, 2019, Ms. Bowles contacted Lessig to fact-check the article that she

intended to publish.

25. Lessig and Ms. Bowles spoke for 21 minutes, as she read through her article as it was

then drafted.

26. During the fact checking with Ms. Bowles, Lessig raised a number of questions about
details in the article. He expressly referenced, for example, the “Addendum” and “Update” that he
had added to the article since its initial publication. See Ex. B.

27. Specifically, Lessig raised a specific concern about any suggestion in the opening of the
article that suggested he was justifying raising money from Epstein. Lessig pointed out that this
was not what his article said. Ms. Bowles indicated that she understood the concern, that she agreed
with Lessig, and that the incorrect language of her draft article would be corrected.

28. The NY Times published Ms. Bowles’ article early in the morning on September 14.

2019. A copy of the article (the “Bowles Article”) is attached hereto as Exhibit C.

29. Lessig was on an intercontinental flight and did not see the article until the early
evening on the day on which it was published.
The Medium Article
30. The Medium Article that was the focus of the Bowles’ Article had four distinct objectives.
31. First, the Medium Article revealed that Lessig had spoken to Ito at the time he was
determining whether to solicit donations from Epstein. See Ex. A.

32. Second, the Medium Article addressed the ethics that should govern university

fundraising. See Id.

33. The Medium Article distinguished among four kinds of donors: Type 1, referring to
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money that carries no moral question; Type 2, referring to money that comes from possibly
controversial commercial activities; Type 3, referring to money from people convicted of a
crime; and Type 4, referring to “blood money,” money earned through activities that should be
morally condemned. See Id.

34, Lessig indicated in the article that his personal moral preference would be that
universities take clean money only. See Id.

35. He further indicated in the article that it was his understanding that contrary to universities
only accepting clean money, universities accepted contributions of all four types. See Id.

36. Lessig then argued in the article that if a university accepted contributions of Type 3 and
Type 4, then, at a minimum, it should avoid laundering the reputation of the donors, by keeping
their donation anonymous. But Lessig then made an explicit exception to that rule in the context
of donations from people like Epstein. See Jd.

37, After acknowledging that 5 years earlier he “didn’t believe [Ito] was wrong to take
Epstein’s money anonymously,” the article expressly stated Lessig’s current view that taking the

money “was wrong.” See Id. As Lessig continued in the article:

But what I — and Joi—missed then was the great risk of great harm that this gift would
create, Sure, it wasn’t blood money, and sure, because anonymous, the gift wasn’t used to
burnish Epstein’s reputation, But the gift was a ticking time bomb. At some point, it was
destined to be discovered. And when it was discovered, it would do real and substantial
pain to the people within the Media Lab who would come to see that they were supported
in part by the gift of a pedophile. That pain is real and visceral and substantial and not taken
seriously enough. And every bit of emotion and outrage from victims that I have seen in
this episode is, in my view, completely justified by the completely predictable consequence
of that discovery. See Id.

38, In an addendum published the morning after the interview, three days before the
publication, and pointed out to Ms. Bowles during her alleged fact-check, Lessig expanded on

this point writing as follows:
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But then the point of the paragraph beginning “But what I — and Joi — missed” is to say
that even if you take Type 3 and you take them anonymously, it is a mistake to take this
particular type of Type 3 contribution — precisely because of the pain it would cause if it
were eventually revealed. Maybe you can take the money of a tax fraud, again, if and only
if anonymous. But the kind of pain triggered here means that that general rule should not
apply here. Which again is why I said I believe it was a mistake to take this money, even
if anonymous. See Id.

39, Third, the article then concluded (and repeated in the addendum) by considering the

consequences of these acknowledged wrongs:

That balance, so many have so quickly concluded, yields the result that Joi must go. And
so is he gone.

MIT is less now that Joi is gone. I suspect even his most vocal critics recognize as much.
So is what MIT lost worth what “the cause” has gained?

As an unavoidable supporter of that cause, I can’t believe it is.

And in the addendum:

I’ve described three mistakes: (1) I was wrong in my advice to Joi. (2) Joi was wrong in
his decision to accept this kind of Type 3 money. (3) MIT was wrong to permit Type 3
money in general, and this particular contribution in particular. My only criticism of
anything that’s happened is that the attention and energy these mistakes have triggered is
not appropriately balanced. See Ex. B.

40, Finally, the article lamented the character of the current social and technical context, that

made it so difficult to address subtle and complex questions effectively. “Can we,” the article

asks, “deal with any complicated issue, sensibly? Or humanely? Or with integrity?” See Ex. A.

The Defamatory NY Times Article

41. On September 10, 2019, at 4 pm EST, Ms. Bowles conducted a Q&A with Lessig
by telephone. The call lasted approximately an hour. It is Lessig’s belief that the call was
recorded by Bowles.

42. The call focused exclusively upon the Medium Article and the issues it raised.

43. Throughout the call, Lessig repeatedly insisted that Ito was wrong to solicit

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contributions from Epstein.

44, Throughout the call, Lessig repeatedly insisted that MIT knew of Ito’s fundraising
activities and approved them.

45, Lessig explained his Medium Article, not as a defense of Ito or MIT,
but as an attack on the scapegoating of Ito.

46, Lessig explicitly distinguished between cases of Type 3 contributions that
could be taken, if anonymous, and Epstein’s money, which should not have been taken, even if

anonymous,

47, Three days later, Ms. Bowles called Plaintiff to fact-check her article. At the time, Lessig

was in Berlin.

48. Ms. Bowles read the narrative portion of her article as it then was drafted to Lessig.

49, After reading the initial portion of the article, Lessig raised the concern that the
lede (as it was then) falsely suggested that he was defending Ito’s fundraising from Epstein.
Lessig insisted that was a false description of what he had written and what he believed. He
stated explicitly that he was not defending taking money from Epstein. Ms. Bowles indicated she
understood the point and would correct her article.

50, Lessig also suggested that the Ms. Bowles’ article reflect the fact that MIT had, since the
interview, acknowledged that it knew and approved of Ito’s fundraising — precisely the question
raised by the Farrow article in The New Yorker. As this failure by MIT to take responsibility was
a primary motivation for writing the piece, this change was critical to any understanding of the

matter.

51. The Bowles Article allegedly fact-checked was materially different from the article

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that Defendants published. The final article with its title displayed a reckless disregard for the

truth. See Ex, A.
The NY Times Publishes Clickbait Over Fact
§2. Upon publishing the Bowles Article, the NY Times tweeted:

Lawrence Lessig, a Harvard Law professor, spoke with our reporter, Nellie Bowles,
about Jeffrey Epstein, Joi Ito, MIT and reputation laundering

And the clickbaiting headline:
A Harvard Professor Doubles Down: If You Take Epstein’s Money, Do It in Secret.

A copy of the tweet is attached hereto as Exhibit D (emphasis supplied).

 

53. Upon reading the Bowles Article, Lessig wrote to Ms. Bowles to object to the false

statement in the lede:

You know that I wish you had more power over your editors, however. That opening —
which was different from what we discussed, and even that we discussed changing — is
just plainly not true. It says that I am “defend[ing] soliciting donations from the convicted
sex offender Jeffrey Epstein.” But as we explicitly discussed, the whole point of my mea
culpa was to say that — even if you take Type 3 money anonymously — you can’t
“defend soliciting donations from the convicted sex offender Jeffrey Epstein.” So
whatever else I was doing or not doing in the piece, I was certainly not “defend[ing]
soliciting donations from the convicted sex offender Jeffrey Epstein.” As I said,
explicitly, it was a mistake to take the money from Epstein.

A copy of this correspondence is attached hereto as Exhibit E.

54. On September 15, 2019, Ms. Bowles responded:

Larry, sorry was going to write back to you today. In the interview you explain your
position a ton, unambiguously and clearly. You do not think this donation should be taken

at all. That’s there!

But the article was defending someone who took the donations and defending him for
taking them. Though of course with all the complexity in mind. Which is in the piece!

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55. Lessig responded to Ms. Bowles immediately:

It’s true, “that’s there.”

But in the lede of your article (which we know, is 90% of what an audience understands),
you have been rendered as saying that I am “defend[ing] soliciting donations from the
convicted sex offender Jeffrey Epstein.” No doubt, someone reading carefully and fully
would wonder how I could be “defend[ing] soliciting donations” while at the same time
criticizing “soliciting donations from the convicted sex offender J effrey Epstein.” This is
different from the point I made about the world I wish we lived in — where none of this
was taken. My point is that in this world, I was saying that it was wrong to solicit
donations from Epstein. And therefore, it is wrong that the lede of your articles says that I
was “defend[ing] soliciting donations from the convicted sex offender Jeffrey Epstein.”

See Ex. E.

56. On September 18, 2019, Lessig again raised his objection to the false statements in the
Bowles Article in an email to Mr. Baquet, the Executive Editor of the NY Times. A copy of this

correspondence is attached hereto as Exhibit F.
57, Two days later, Ms. Pollock, Managing Editor of the NY Times, replied by attempting to

justify the publication, and declining to change the false and defamatory title and lede. As she

wrote:

it seems clear to us that you did defend Mr. Ito’s actions in soliciting money from Epstein
and you did say that if a university is going to take money from someone like Epstein, it’s
better to do so anonymously. See Id.

The Aftermath Of The Defamatory NY Times Article

58. Readers of the NY Times article were misled into believing something that
Defendants knew prior to publication was plainly false — that Lessig was “defend[ing] soliciting
donations from Jeffrey Epstein” and was arguing that it was okay to take Epstein’s money if the
contribution was secret. The false statements cast Professor Lessig in a negative and defamatory

light to all readers. See Ex. C and D.

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59, Some of the responses to the NY Times publication on Twitter included:
Twitter user 1 stated: I guess he doesn’t think men should beat their wives but if they do
they damn well better make it anonymous. What a bad article. They hid it because they
wanted the [money]. A solution to reputation laundering could be a “Money
begrudgingly accepted from really bad people” plaque.
Twitter user 2 stated: So Ito thought Epstein would no longer be “sleeping with—trying
to seduce” 14 and 16-year olds, Its’s not seduction. It’s Rape. Now we know what Lessig
really thinks of pedophilia. Wish @NellieBowles had pushed him on this wretched
misogyny

Twitter user 3 stated: ... HOW CONVENIENT to find an ethically acceptable means to
take [money] anonymously.

A copy of these tweets is attached hereto as Exhibit G.

60. The effects on Lessig’s reputation have been pervasive and continuing, especially given
his work in the very area institutional integrity and ethics.

61. On October 10, 2019, a reporter at the NY Times, who had previously been in
discussions about excerpting Lessig’s forthcoming book about institutional ethics in an edition of
the Sunday Times, informed Lessig that his editor had vetoed the piece and would not publish
the book excerpt as a result of the story. The editor stated that, in light of the Bowles article,

Lessig was being hypocritical in writing about institutional corruption.

62. Asa result of the NY Times’ defamatory statements and use, Lessig has
suffered significant and irreparable damage to his reputation and profession, as well as emotional
distress, embarrassment and humiliation.
COUNT I -- DEFAMATION
63. Lessig realleges and incorporates herein by reference each of the prior paragraphs.
64. Defendants published, and continue to publish, their false and defamatory article of and

concerning Lessig with a knowing and reckless disregard of the truth and thereby caused and

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continue to cause Lessig damages. Defendants compounded their wrongdoing by continuing to
publish their defamatory article even after they were explicitly noticed that the clickbait and lede
were essentially a knowing fabrication given the facts Lessig provided prior to publication.

65. In so doing, Defendants’ false and defamatory statements subjected Lessig to ridicule and
scorn, sabotaging his well-respected name, reputation, and academic work. The consequences of
‘this clickbaiting have been harmful to Lessig and his work.

66. Defendants are liable in damages to Lessig.

WHEREFORE, the plaintiff, Professor Lawrence Lessig, respectfully requests that the Court

grant him the following relief:

i. after trial, enter judgment on Count I in his favor and award him damages in the
ii. amount assessed by the jury, including fees, costs, and interest; and

iii. grant such other further relief as the Court deems just and proper.

Jury Demand

Plaintiff hereby demands a trial by jury on all claims so triable.

PROFESSOR LAWRENCE LESSIG

By his attorney,

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Dated: January 13, 2020

/s/ Howard M. Cooper

Howard M. Cooper (BBO # 543842)
hcooper@toddweld.com

Tara D. Dunn (BBO # 699329)
tdunn@toddweld.com

Todd & Weld LLP

One Federal Street, 27" Floor
Boston, MA 02110

(617) 720-2626

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